Case 19-23479-LMI Doc 81 Filed 10/23/23. Page1of9
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

IN RE: CASE NO.: 19-23479-BKC-LMI
Manuel Enrique Morales CHAPTER 13

DEBTOR(S) /

MOTION TO ALLOW TRANSFER OF HOMESTEAD PROPERTY

COME NOW, the Debtor(s), Manuel Enrique Morales, by and through their undersigned
counsel and file this Motion to Allow Transfer of Homestead Property and as grounds therefore
States:

1. Debtor filed a voluntary petition for bankruptcy under Chapter 13 on October 7, 2019.

2. At the time of filing Debtors listed a homestead located at 3320 NE 13 Circle Drive, unit
109 Homestead, FL 33033 which was being paid, occupied, and maintained by the
debtor.

3. Listed on the property title is the debtor, Manuel Enrique Morales, as a life estate and
Sherezade Vacas, Michelle A M Salazar, Nicole A M Salazar, Javier Vacas, Domingo
Morales, Michelle A M Salazar, and Nicole A M Salazar all as remainder interest.
Attached please find a summary report from the Miami-Dade Property Appraiser under
Exhibit “A”

4. That the debtor will be transferring his interest in the residence to the family trust. That
the trust will be for the sole beneficiaries of the debtor’s two daughters. Attached
please find a copy of the quitclaim deed under Exhibit “B”

5. That the debtor currently has a motion to modify the plan to payoff 100% of allowed
general unsecured creditors.

6. The family trust is requesting a cord order authoring the quit claim deed, as the debtor
will be surrendering all interest in the trust for the purpose of the Family Trust to assume
the mortgage.

WHEREFORE, the Debtor(s), Manuel Enrique Morales, respectfully requests this Court
enter an Order Granting Debtors’ Motion to Allow Transfer of Homestead Property.

I Hereby Certify that I am admitted to the Bar of the United States District Court for the Southern District
Court for the Southern District of Florida and I am in compliance with the additional qualifications to practice in the
Court set forth in Local Rule 2090-1
Case 19-23479-LMI Doc 81 Filed 10/23/23 Page 2 of9

Respectfully Submitted:

Law Offices of Patrick L Cordero, P.A.
Attorney for Debtors
7333 Coral Way
Miami, Florida 33155
Tel: (305) 445-4855
/s/_ (FILED CM/ECF)
PATRICK L. CORDERO, ESQ.
FL Bar No. 801992

Case 19-23479-LMI Doc 81 Filed 10/23/23 Page 3of9

Case 19-23479-LMI

Doc 81 Filed 10/23/23

Summary Report

10-7910-028-0590

Page 4 of 9

Generated On: 10/23/2023

Folio
Property 3320 NE 13 CIRCLEDR UNIT: 109-23
Address HOMESTEAD, FL 33033-6144
MANUEL MORALES LE , REM SHEREZADE VACAS
(GDN) , REM FBO MICHELLE AM SALAZAR , REM
Owner NICOLE AM SALAZAR , REM JAVIER VACAS , REM
DOMINGO MORALES (GDN) , REM FBO MICHELLE
AM SALAZAR , REM FBO NICOLE AM SALAZAR
Mailing 3320 NE 13 CIR DR UNIT 109
Address HOMESTEAD, FL 33033
Primary 9300 PLANNED UNIT DEVELOPMENT
one
Primary 0407 RESIDENTIAL - TOTAL VALUE :
Land Use CONDOMINIUM - RESIDENTIAL
Beds / .
Baths /Half 3/3/0 2023 Aerial Photography
Floors 2 [ 1000 ft ]
Living 1 i
Units Year 2023 2022 2021
Actual Area COUNTY
Living Area 1,234 Sq.Ft Exemption Value $50,000 $50,000 $50,000
oe 1,234 Sq.Ft Taxable Value $43,143 $40,431 —« $37,798
Lot Size 0 Sq.Ft SCHOOL BOARD
Year Built 2005 Exemption Value $25,000 $25,000 $25,000
TT Taxable Value $68,143 $65,431 $62,798
Year 2023 2022 2021 CITY
Land Value $0 $0 $0 Exemption Value $50,000 $50,000 $50,000
Building Value $0 $0 $0 Taxable Value $43,143 $40,431 $37,798
Extra Feature Value $0 $0 go REGIONAL
Market Value $230,212 $179,853 $133,750 | Exemption Value $50,000 $50,000 $60,000
Assessed Value $93,143 $90,431 «$87,798 ~—Ss- Taxable Value $43,143 $40,431 $37,798
B fit Tr 2023 202 2021 i i
~ ype x 022 a Previous Price OR Book Qualification Description
Save OurHomes Assessment Sale Page
: $137,069 $89,422 $45,952 . :
Cap Reduction Corrective, tax or QCD; min
11/04/2019 $100 31685-3862 id ,
Homestead Exemption $25,000 $25,000 $25,000 consideration
Second 04/25/2013 $95,000 28604-1404 Qual by exam of deed
Exemption $25,000 $25,000 $25,000 . cae .
Homestead Financial inst or "In Lieu of
06/16/2010 $35,100 27337-0705 Forc! " stated
Note: Not all benefits are applicable to all Taxable Values (i.e. orciosure" state
12/01/2005 $212,000 24158-0657 Sales which are qualified

County, School Board, City, Regional).

VILLAS AT CARM

Haun
EL CONDO NO 2

UNIT 109 BLDG 23

UNDIV 1/104

INT IN COMMON ELEMENTS
OFF REC 23805-1752

The Office of the Property Appraiser is continually editing and updating the tax roll. This website may not reflect the most current information
on record. The Property Appraiser and Miami-Dade County assumes no liability, see full disclaimer and User Agreement at
http:/Awww.miamidade.gov/info/disclaimer.asp
Case 19-23479-LMI Doc 81 Filed 10/23/23 Page5of9

{MI Doc 81 Filed 10/23/23 Page 6 of9

Case 19-23479-

Prepared by and return to:
Gary S Glasser, Esq.
Gary S. Glasser, P.A.
201 Courthouse Plaza,
28 West Flagler Street
Miami, FL 33130 |
305-377-4187

File Number: Salazar,L
Parcel Identification Number: 10-7910-(

|
128-0590
[Space Above This Line For R:

Quit Claim! Deed

This Quit Claim Deed made this|____ day of October, 2023 between Manuel Morales, a married
man, F/B/O minors Michelle Angelina Morales Salazar and Nicole Angelina Morales Salazar,
joined by his spouse, Maria Alejandra Serrano Palmieri, 3320 NE 13 Circle Drive, Unit 109,
Homestead, FL 33033; and Sherezade Vacas and Javier Vacas, Husband and Wife, F/B/O minors
Michelle Angelina Morales Salazar and Nicole Angelina Morales Salazar, 16565 NE 26 Avenue,
Apt. 2H, North Miami Beach, FL; and Domingo Morales and Naomi Novak-Morales, Husband

ecording Data}

and Wife, F/B/O minors Michelle
1413 Balmoral Road, Coatesville

Angelina Morales Salazar and Nicole Angelina Morales Salazar,
PA 19320, collectively grantor, and Domingo Morales, as Trustee

of the Living Trust of Carmen Liseth Salazar Guapuriche dtd 11/4/19, as restated and amended,
123 Milbury Road, Coatesville, P'A 19320, grantee:

|

"grantor" and "grantee'’ include all the parties to this instrument and
and assigns of individuals, and the successors and assigns of .

(Whenever used herein the terms
the heirs, legal representatives,
corporations, trusts and trustees)

Witnesseth, that said grantor, for and in consideration of the sum TEN AND NO/100 DOLLARS
($10.00) and other good and valuable consideration to said grantor in hand paid by said grantee, the
receipt whereof is hereby acknowledged, does hereby remise, release, and quitclaim to the said grantee,
and grantee's heirs and assigns forever, all the right, title] interest, claim and demand which grantor has
in and to the following described land, situate, lying and being i in Miami-Dade County, Florida to-wit:
|

VILLAS AT CARMEL CONDO NO 2; UNIT 1.09 BLDG 23; UNDIV 1/101 INT IN

COMMON ELEMENTS; |OFF REC 23805-1752

OR23737-4384 OR23936-2139 0805 1; COC 24458 -0657 12 2005 1
To Have and to Hold, the same together with all and singular the appurtenances thereto belonging or in
anywise appertaining, and all the) estate, right, title, interest, lien, equity and claim whatsoever of
grantors, either in law or equity, for the use, benefit and profit of the said grantee forever.

|
SIGNATURES ON FOLLOWING PAGES.

DoubleTime®

Case 19-23479-

In Witness Whereof, the parties have hereu

he Presence of
Wit as,to ea x ,

Signed and Sealed i

LMI Doc 81 Filed 10/23/23 Page 7 of 9

Into set their hands and seals the day

and year Le written.

Manuel }

ante here:

Print UF #1
—iktiin boy tl?

Maria 1 Alejahdra Serrano Palmieri

Print Witness #1 Name here: ‘LAC hplA

STATE OF: FLORIDA
COUNTY OF: MIAMI-DADE
Sworn (or affirmed) and subscribed to befo
prPhysical presence or o online notarizatio

0 Personally known
Produced Id./Type: De, el flesr x64)

Notary

aay Com

My Com

“ Bonded through National Notary Assn. J

In Witness Whereof, the parties have hereunto set their hands and sea

Signed and Sealed in the Presence of
Witnesses as to each:

btttoP>

re me by Manuel Morales
Tt

and Maria Alejandra Serrano Palmieri, on this 10//2/23.

Notary ta of: FL
xpiration:

ublic, S
igsion

|

Cad

GARY S. GLASSER My Co
Public - State of Florida f
mission #GG 958866 —
im. Expires Feb 29, 2024

s the day and year first above written.

|
e Vacas, F/B/O minors Michelle Angelina
alazar & Nicole Angelina Morales Salazar

Sherezadi
Morales S

Print Witness #1 Name here:

Javier Vacas, F/B/O minors Michelle Angelina

Print Witness #1 Name here:

STATE OF: FLORIDA
COUNTY OF: MIAMLDADE
Sworn (or affirmed) and subscribed to befa
0 Physical presence or o online notarizatio
@ Personally known
0 Produced Id./Type:

Tl

Morales Salazar & Nicole Angelina Morales Salazar

|
re me by Sherezade Vacas|and Javier Vacas, on this
|

i
i
t
{
i

_/_/__ R3.

Notary, Public, State of: FL
My Commission Expiration:

Quit Claim Deed - Page 2

DoubieTime®
Case 19-23479-LMI Doc 81 Filed 10/23/23 Page 8 of 9

In Witness Whereof, the parties have hereunto set their;hands and seals the day and year first above
written. ,

Signed and Sealed in the Presence of
Witnesses as to each: Domingo, Morales, F/B/O minors Michelle Angelina
Morales Salazar & Nicole Angelina Morales Salazar

Print Witness #1 Name here:

Naomi Novak-Morales, F/B/O minors Michelle
Print Witness #1 Name here: Angelina Morales Salazar & Nicole Angelina Morales
Salazar

STATE OF: PENNSYLVANIA
COUNTY OF: CHESTER

Sworn (or affirmed) and subscribed to befdre me by Domingo Morales and Nicole Angelina Morales, on this / — /_/23.
O Physical presence or O online notarization
Oo Personally known

O Produced Id./T ype:

Notary, Public, State of: PA
My Commission Expiration:

Quit Claim Deed - Page 3 DoubieTime®

Case 19-23479-

DISC

The undersigned, Manue

[MI Doc 81 Filed 10/23/23 Page 9 of9

ILAIMER OF INTEREST IN TRUST

1 Morales, hereby disclaims any interests he may have in the Living

Trust of Carmen Lisbeth Salazar Guapuriche dated 11/4/19, effective immediately.

Dated: October Ve 20

2:\WP\Corp\Vacs, Sherezade, Resignation as Trustee

D3.

